Case 1:19-cv-00017-JPJ-PMS Document 31 Filed 12/09/19 Page 1 of 1 Pageid#: 181


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

 MARK MULLINS,                                    )
                                                  )
                                                  )
                   Plaintiff,                     )      Case No. 1:19CV00017
                                                  )
 v.                                               )      ORDER OF DISMISSAL
                                                  )
 TOWN OF RICHLANDS, VIRGINIA,                     )      By: James P. Jones
 ET AL.,                                          )      United States District Judge
                                                  )
                   Defendants.                    )

       For good cause shown, and in consideration of the Parties’ Joint Motion to

 Dismiss and Retain Jurisdiction, the Court hereby GRANTS the Joint Motion and

 conditionally dismisses the above-titled action with prejudice under Federal Rule

 of Civil Procedure 41(a)(2). In accordance with the Settlement Agreement, which

 was filed with this Court as Exhibit A to the Parties’ Joint Motion, the Court

 specifically retains jurisdiction for a period of three (3) years from the date of this

 Order for the limited purpose of interpreting and enforcing the Settlement

 Agreement in accordance with its terms.

       The Clerk shall close the case.

       It is so ORDERED.

                                               ENTER: December 8, 2019

                                               /s/ James P. Jones
                                               United States District Judge
